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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                              CHARLOTTESVILLE DIVISION

                                CIVIL MINUTES – JURY TRIAL
                                               Day Two


   Case No.: 3:17CV72                   Date: 10/26/2021

     Elizabeth Sines, et al                         Counsel: Roberta Kaplan, Karen Dunn, Alan
     Plaintiff(s)                                   Levine, William Issacson, David Mills, Michael
                                                    Bloch, Renato Stabile
     v.

     Jason, Kessler, et al                          Counsel: James Kolenich, David Campbell,
                                                    Joshua Smith, Bryan Jones, Richard Spencer pro
     Defendant(s)                                   se, Christopher Cantwell, pro se

                                                    Dillon Hopper , pro so by Zoom




   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:30-
   11:10=1hr 40min; 11:30-12:30=1hr; 2:05-3:35=1hr 30min; 3:50-5:00=1hr 10min; 5:10-
   5:55=45; 6:10-6:50=40min Total 6hrs 45min
                 Deputy Clerk:       Heidi N. Wheeler/Susan Moody
                 Court Reporter:     Lisa Blair


                                       LIST OF WITNESSES

       PLAINTIFF                                         DEFENDANT
     1.                                             1.



   PROCEEDINGS:
          9 jurors in Panel Three, 17 Jurors on Panel Four present and sworn on Voir Dire
          8 jurors struck for cause and excused by Court in Panel Three. 11 jurors struck for Cause
   and excused by Court in Panel Four
          No jurors struck by Plaintiff in Panel Three, 3 jurors struck by Plaintiff in Panel Four.
          1 juror struck by Defendants in Panel Three. 1 juror struck by Defendants in Panel Four.
          1 Juror selected from Panel Three. 2 Jurors selected from Panel Four. Remaining jurors
   discharged.


   Additional Information:

   Case called.
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   Court notes for the record Mr. ReBrook will not be present today and Mr. Kolenich will proceed
   for him during jury selection.

   Before Jury called, Plaintiff seeks time to address a matter and presents letter to Court. Matter to
   be taken up later.

   Panel three taken up. Jury sworn and selection begins.

   Lunch recess at 12:30

   Panel four sworn and selection begins.

   Discussion surrounding remaining strikes and motion. Arguments heard.

   Final panel selection.

   Plaintiffs seek additional strikes from the Court.

   Court address trial issues.

   Jury selection to resume on October 27, 2021.
